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             STAFF                                                  REFERENCE: ACA STANDARD (S)
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APPROVER:        Frank Shaw, Warden                                 POLICY NUMBER: 08.006



         PURPOSE

         This procedure applies to all employees of the East Mississippi Correctional Facility.

         POLICY

         It is the policy of the East Mississippi Correctional Facility (EMCF) to control contraband from
         staff through the use of searches.

         PROCEDURE

         Search Notification

         East Mississippi Correctional Facility will place a notice stating that persons gaining admittance
         to the facility grounds are subject to a search of the vehicle, any contents therein, and the persons
         within. This noticed will be placed at each entrance in a conspicuous location.

         Searches of employees and their property by trained narcotic detection dogs may be conducted at
         any time.

         Spice/Mojo/JHW-108 synthetic marijuana is considered contraband and is not allowed.

         Property Search of Employees

         A search of employee personal property brought onto institutional/facility grounds may be
         conducted to include, but not limited to vehicles, lunch boxes/containers, purses, coats and
         jackets.

         Employees will be allowed to possess the following items upon entering their job site and while
         traveling to and from the job site while on EMCF property:

             •     Twenty dollars $20.00 (any more money will be secured in personal vehicle)
             •     Food sufficient for no more than two (2) meals, and the food must be in a clear plastic
                   zip lock bag or inside a clear plastic container.


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             •     Prescription medication and/or appropriate personal hygiene items (medication must be
                   in original bottle or packet)
             •     Coffee/Tea may be allowed for brewing if in a clear plastic container or clear plastic zip
                   lock bag
             •     Umbrella (during inclement weather, compact models only)
             •     A clear back pack (issued by EMCF)
             •     A clear empty plastic container for the consumption of food

         All items must fit in the EMCF issued back pack and meet the above requirements which will
         allow visual inspection by assigned staff.

         Prohibitions on the job site within the institution's inner perimeter:

             •     Reading items to include magazines, newspapers, books, periodicals, etc. (other than
                   reading material necessary for job duties)
             •     Canned or glass items
             •     Pocket knives or pen knives (regardless of blade)
             •     Personal electronic devices, cellular telephones, or components and accessories
                   (excluding state issued) any exceptions must be approved via the chain of command
             •     Duffel/gym bags/back packs/extra clothing (excluding rain gear, jackets and/or coats)
             •     Containers of any kind which are not clear or plastic

         Carry-out food purchased from a location off the institution's grounds must be in a clear plastic
         container or clear plastic zip lock bag.

         Pat-Down/Frisk Search of Employees

         A search of a fully clothed person may be conducted at any time to prevent the introduction of
         contraband or any other illegal item into the facility.

         The person being searched may be required to empty his pockets, purse, or any other area where
         items may be stored or carried, in order for these items to be searched for contraband.



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         The person conducting the search will be of the same sex as the staff being searched and will use
         his/her hands to touch the person being searched, through his clothes, in such a manner to
         determine if something is being concealed.

         Strip Searches of Employees

         Strip searches of employees may be conducted upon the express written authorization of the
         Warden. Such searches must be conducted in private, out of the view of others, by two (2) staff
         members of the same sex as the employee being searched, with one (1) of the employees
         conducting the strip search being at least one (1) rank higher than the employee being searched.

         The employee may be required to bend over, squat, turn around, raise his arms, run his hands
         through his hair and/or open his mouth for inspections (the foregoing list is exemplary, not
         exclusive). The employee's clothing may be thoroughly searched prior to returning them to the
         employee.

         Strip searches may be conducted by appropriate prison officials only if there is a reasonable
         suspicion that an employee of the EMCF has any illegal or prohibited item or contraband on his
         person, possession or in his vehicle. In order to justify a strip search under the reasonable
         suspicion standard, such prison officials must point to specific objective facts in light of their
         experiences.

         Only officers of the rank of a Warden or above are authorized and allowed to point to any
         specific objective facts and draw any such rational inferences as a means of justifying a strip
         search of any employee of the EMCF under the reasonable suspicion standard as mentioned
         herein. Under no circumstance is an officer whose rank is less than a Warden, authorized or
         allowed to point to any specific objective facts and draw any such rational inferences as a means
         of justifying a strip search of any employee of the EMCF.

         Random strip searches of employees are prohibited. If an employee refuses to be searched, the
         employee will be subject to appropriate disciplinary action by the EMCF.




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         Body Cavity Searches of Employees

         Body cavity searches of employees may be conducted only upon the express written
         authorization of the Warden. Such searches must be conducted in the institutional
         infirmary/hospital or a private place, out of the view of others, by two (2) members of the
         medical staff of the same sex as the employee being searched, with one (1) of the employees
         conducting the strip search being at least one (1) rank higher than the employee being searched.

         Body cavity searches may be conducted by appropriate prison officials only if there is a
         reasonable suspicion that an employee of the MDOC has any illegal or prohibited item or
         contraband on his person, possession or in his vehicle. In order to justify a body cavity search
         under the reasonable suspicion standard, such prison officials must point to specific objective
         facts and rational inferences that they are entitled to draw from those facts in light of their
         experiences.

         Only officers of the rank of a Warden or above are authorized and allowed to point to any
         specific objective facts and draw any such rational inferences as a means to justify a body cavity
         search of any employee of the EMCF under the reasonable suspicion standard as mentioned
         herein. Under no circumstance is an officer whose rank is less than a Warden, authorized or
         allowed to point to any specific objective facts and draw any such rational inferences as a means
         of justifying a body cavity search of any employee of the EMCF.

         Ion Spectrometry Analyzer (Ion Scanner) Procedures for Employees

         The ion scanner may be used on staff or their property only with authorization of the Warden or
         person acting in the capacity of the Warden.

         The ion scanner may be used to:

             •     Scan the clothing or possessions of anyone entering a correctional facility;
             •     Scan property brought into a correctional facility;
             •     Scan the possessions, correspondence or the person staff at a correctional facility; and/or



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            •     Analyze a substance or samples taken from an article or surface obtained by a
                  correctional officer in the performance of his or her duties.

         Samples for ion spectrometry are obtained through non-invasive search techniques.

         The warden will ensure staff is trained to operate the equipment according to the manufacturer's
         specifications.

         The staff will ensure that the equipment for the ion scanner is operated and maintained per safety
         guidelines and the manufacturer's guidelines. The manufacturer provides warm-up and
         verification procedures to ensure that the device functions accurately.

         Response to Positive Readings

         A positive reading on the ion scanner is evidence of contraband drugs or explosive substance, or
         contact with contraband drugs or explosive substance. It may be used to support proceedings
         under EMCF policy regarding any disciplinary action.

         Body Image Scanners

         The Body Image Scanner accurately reveals both metallic and non-metallic objects including
         liquids, contraband, ceramics, explosives, narcotics, concealed currency and weapons.

         The Body Image Scanner is a Single Pose system that generates a front and back body scan
         simultaneously.

         Body Image Scanner Equipment will only be operated by trained employees.

         The Body Image Scanner will be operated with the following privacy protocols:

            •     Remote Image Operator location allowing no visual contact with the person
            •     Privacy walls
            •     Same Gender Screeners
            •     No archiving images

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         Addressing Body Image Scanner Safety Concerns

         The Body Image Scanner has an ultra-low radiation classified by the radiation protection groups
         of less than 5 uRem per scan and conforms to recommendations by the National Council on
         Radiation Protection and Measurements (NCRP and ANSI N43.17).

         The Body Image Scanner is safe for all persons regardless of age, sex, or medical conditions
         including children, pregnant women, medical radiation therapy patients and pacemaker wearers.

         Operators will periodically perform inspections of the entire system's exterior to check for parts
         that may be broken, missing, worn or distorted.

         Operators will ensure all lamps and signals are installed and in proper working condition while
         operating the scanner which includes the monitor and PC display output, Scan in Progress Lamps
         and Power On Indicator.

         Operators will ensure warning and caution labels are affixed to the exterior of the scanner before
         operating the equipment to include the Service Access and High Voltage Warning Labels.

         Operational Requirements

         The Body Image Scanner generally requires three (3) operators:

            •     Divestiture/Control Position Roles and Responsibilities: Educate the person being
                  searched, ensure personal belongings are relinquished and direct the person into the
                  scanner.

            •     System Operator Roles and Responsibilities: Positions the person being scanned, initiates
                  scan, and performs physical search of the person if necessary.

            •     Image Operator Roles and Responsibilities: Interprets scanned images, clears scanned
                  person or notes areas that require further inspection and communicates decisions to
                  System Operators.




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         Under some circumstances, the system can be run by two (2) staff combining the Control Officer
         and System Operator responsibilities together.

         These scanner positions should be rotated periodically every 20 to 30 minutes.

         The Control Officer will:

            •     Explain the meaning of full divestiture

            •     Instruct the person being scanned to review the Scan Procedure displayed on the monitor

            •     Ensure the person's belongings are located in their line of sight to reduce the scanned
                  person's concerns and allows the person to focus on the scan procedure

            •     Allows persons waiting to be scanned to observe others being scanned by the system to
                  facilitate the education of the process.

         Positioning for Scanning Rules for the System Operator include:

            •     Only one scan per person

            •     System Operators must model the Double Salute pose for the person being scanned.
                  Double Salute Pose is recommended because it fixes the height of the elbows, fixes the
                  position of the forearms within the field of view and results in more consistency in
                  imaging

            •     Person must be standing on the marked location on the floor mat and looking straight
                  ahead

            •     Hands must be above the head with palms facing forward

            •     Person must be instructed to remain still for the duration of the scan

            •     System Operators should use short requests such as:


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                      o Please stand on the mark
                      o Please look straight ahead
                      o Please do not move

             •     Person's heels should be lined up so that they are touching the inner edge of the
                   footmarks

             •     When the person is in position, initiate the scan with a push of the button and the Scan in
                   Progress will turn on

             •     After the scan is completed, the System Operator will direct the scanned person to a
                   designated location and summon the next person to be scanned

         Post-Search Documentation

         All appropriate documentation in relation to searches will be maintained in a readily accessible
         manner.

         If the employee to whom the search is directed cooperates with the search and no contraband is
         found, no notation of the search is to be placed in the employee's employment records.
         If contraband is found during the course of a search, the employee will be detained pending
         notification of law enforcement officials.

         This policy shall be reviewed annually and revised as necessary.
         REVIEWED & ISSUANCE
         APPROVED
                                                    NAME                                         DATE




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         POLICY

         It is the policy of the East Mississippi Correctional Facility (EMCF) to control contraband from
         visitors.

         Penalty for Contraband

         Spice/Mojo/JHW-108 synthetic marijuana is considered contraband and is prohibited on the
         institutional grounds.

         Those visitors detected with contraband will incur one or more of the following punitive actions:

            •     Confiscation
            •     Loss or suspension of visitation privileges
            •     Expulsion from EMCF property
            •     Arrest
            •     Prosecution

         PROCEDURE

         This procedure applies to all EMCF employees, offenders, and visitors.

         Facility Contraband Warnings

         In accordance with each EMCF facility's physical layout, signs will be posted at facility
         entrances specifying those items deemed to be contraband by agency security and the subsequent
         penalty for violating said prohibitions. The signs will contain the following information.

                                         Attention all Visitors and Vendors

         At all times while on the grounds of the East Mississippi Correctional Facility, you are
         subject to search of your person, vehicles, personal property, or any/all items you may have
         in your possession. Guns, knives, ammunition, alcohol, drugs, weapons, or any instrument
         or tool that may be used as a weapon or any other items declared by this institution to be


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         contraband is strictly forbidden. Contraband will be confiscated and violators will be
         prosecuted.

         Facility Ingress

         All visitors entering EMCF will be subject to vehicle, person and personal effects searches by the
         Canine (K-9) Tactical Unit, Emergency Team and/or other security designations by the facility's
         controlling authority or designee. These searches may include the coordinated efforts of K-9
         dogs trained in the detection of drugs, weapons and other contraband.

         Visitor Refusal of Search

         When a visitor refuses an initial search or screening by a scanning device, the visitor will:

             •     Not be allowed to enter the facility
             •     Have their visit terminated
             •     Have their visitor's privileges suspended

         Strip Searches and/or Body Cavity Searches of Visitors

         When any visitor is believed, upon reasonable suspicion, to be carrying contraband, they will be
         asked to consent to a strip search and/or body cavity search. Such searches must have the
         approval of the Warden.

         Any visitor who refuses to consent to a strip search or body cavity search will be denied
         visitation access and will be escorted off EMCF property. The Senior Duty Officer will forward
         an incident report to the Warden.

         Strip searches of visitors will always be conducted the same sex as the visitor being searched.
         The Duty Warden of Operations will forward a strip search incident report to the Warden.

         Medical personnel will always conduct the same sex body cavity searches of all visitors. The
         results of a body cavity search and subsequent incident report will be forwarded to the Warden.



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         Investigative Protocols for Visitor Contraband

         Upon confiscation of contraband as specified by statutes 47-5-193 through 47-5-198, contraband
         item(s) will be handled by the least number of persons possible in order to ensure evidential
         integrity.

         Any person(s) handling evidence will wear latex gloves.

         Contraband will be secured in an evidence bag in order to establish a chain of custody.

         Institutional staff will notify and debrief the on-call Internal Affairs Investigator who will then
         recommend disposition of the contraband.

         EMCF will notify local law enforcement authorities.

         Involved staff will detain and isolate suspect(s) without questioning them.

         When more than one suspect is involved, the suspects will be isolated in separate locations.

         Suspects will never be left unattended.

         Upon arrival of Internal Affairs Investigator or the law enforcement authorities, suspects and
         evidence will be surrendered to the investigating officer.

         An interview with the confiscating staff member(s) will either follow immediately or be
         scheduled shortly thereafter.

         Handicapped Visitors

         Under extraordinary circumstances, handicapped visitors will be escorted to and from offender
         housing units for visits and will be searched by Visitation staff and by staff assigned to those
         units. Extraordinary circumstances may include, but not be limited to:

             •     Visitor's wheelchair is too large to fit on a lift


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            •     Visitor is in need of breathing equipment
            •     Visitor cannot enter through the Visitation Center

         Ion Spectrometry Analyzer (Ion Scanner) Procedures for Visitors

         The ion scanner may be used to:

            •     Scan the clothing or possessions of anyone entering a correctional facility;
            •     Scan property brought into a correctional facility for an inmate;
            •     Scan the possessions, correspondence or the person of an inmate in a correctional facility;
                  and/or
            •     Analyze a substance or samples taken from an article or surface obtained by a
                  correctional officer in the performance of his or her duties.

         Samples for ion spectrometry are obtained through non-invasive search techniques.

         The Warden will ensure staff is trained to operate the equipment according to the manufacturer's
         specifications.

         The staff will ensure that the equipment for the ion scanner is operated and maintained per safety
         guidelines and the manufacturer's guidelines.

         The manufacturer provides warm-up and verification procedures to ensure that the device
         functions accurately.

         Response to Positive Readings

         A positive reading on the ion scanner is evidence of contraband drugs or explosive substance or
         contact with contraband drugs or explosive substance.




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         It may be used to support proceedings under EMCF policy regarding any decision to
         restriction/suspend an inmate's visiting privileges.

         This policy shall be reviewed annually and revised as necessary.



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         PURPOSE

         This procedure applies to all employees of the East Mississippi Correctional Facility (EMCF)
         that transport, supervise or otherwise come in contact with offenders.

         POLICY

         It is the policy of the East Mississippi Correctional Facility (EMCF) to control contraband.

         DEFINITIONS

         Contraband — Any item(s) that is not authorized by EMCF.

         Body/Personal/Pat/Frisk Searches — Hands on tactile search of a clothed offender (minus pocket
         contents, shoes and outer garments) for the purpose of discovering and confiscating contraband.

         Strip Search — A visual search/examination of a disrobed offender by a minimum of two (2) staff
         members in a location restricted from the visual observation of non-involved EMCF staff and/or
         other persons.

         Visual Offender Body Cavity Search with Genital Examination — A visual search/examination of
         a disrobed offender by a minimum of two (2) staff members in a location restricted from the
         visual observation of non-involved EMCF staff and/or other persons that requires offenders to
         bend over, turn, raise arms, lift genitals, spread the buttocks, run hands through their hair, and
         open mouth.

         Body Cavity Search — A contraband search involving the insertion of a probe into an offender's
         body cavity that is conducted exclusively by qualified medical personnel in private.

         General Search — A group search of offenders (i.e., unit zone) which can include personal
         property, living areas and/or persons.




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         Reasonable Suspicion — The detection of suspect facts, circumstances and/or behavior that may
         prompt an officer to believe that an offender may be concealing contraband in or on their person
         and/or MDOC property.

         Narcotic Canine Searches — Offender body, property and living area searches conducted by
         narcotic detection dogs under the supervision of trained MDOC Canine (K-9) staff.

         Spice/Mojo — A form of contraband which is a combination of herbs: baybean (canavalia
         maritime), blue lotus (nymphaea carulea & nymphaea alba), lion's tail (Leonotis leonurus),
         Indian warrior (pedicularis densiflora), dwarf scallop (scuttelaria nana), moconha brava (zornia
         latifolia), pink lotus (nelumbo nucifera), Siberian motherwort (leonurus sibircus), vanilla and
         honey, that produces some of the same effects as marijuana.

         JHW-108 Synthetic Marijuana — A man-made chemical/THC variant that produces similar
         effects as THC except is four (4) times stronger.

         PROCEDURES

         Written policy, procedure, and practice provide for searches of facilities and inmates to
         control contraband and provide for its disposition. These policies are made available to
         staff and inmates (4-4192). The institution's search plans and procedures should include the
         following:

             •     Unannounced and irregularly timed searches of cells, inmates, and inmate work areas
             •     Inspection of all vehicular traffic and supplies coming into the institution
             •     Use of metal detectors at compound gates and entrances into housing units
             •     Complete search and inspection of each cell prior to occupancy by a new inmate
             •     Avoidance of unnecessary force, embarrassment, or indignity to the inmate
             •     Staff training in effect search techniques that protect both inmates and staff from bodily
                   harm
             •     Use of non-intensive sensors and other techniques instead of body searches, whenever
                   feasible
             •     Conduct of searches only as necessary to control contraband or to recover missing or
                   stolen property


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            •     Respect of inmates' rights to authorized personal property
            •     Use of only those mechanical devices absolutely necessary for security purposes

         The function of EMCF searches are to:

            •     Locate contraband
            •     Prevent escapes
            •     Maintain security and control
            •     Evaluate fire and safety hazards
            •     Protect staff and offenders
            •     Maintain sanitary and housekeeping conditions
            •     Prevent altercations

         General Search Rules

            •     All searches will be reasonable and related to the legitimate security needs and/or
                  obligations of the institution

            •     Unannounced and unscheduled searches will be conducted of EMCF offenders, to
                  include their persons, property, living and work areas.

            •     All staff conducting searches will be trained in effective search techniques that provide
                  protection from bodily harm for both staff and offenders.

            •     All vacant cells and living areas will be searched prior to offender occupancy.

            •     All staff involved in the conduct of searches will avoid whenever possible the use of
                  unnecessary force, and the provocation of undue offender embarrassment and/or
                  indignity. Whenever feasible, staff will use non-intensive sensors or alternate techniques.

            •     EMCF staff will respect offender's personal property during searches of offender
                  personal effects.




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            •     Staff use of approved mechanical devices will occur only when necessitated by security
                  and safety considerations.

            •     Property, pat/frisk and general searches may be conducted at any time.

         General Area Searches

            •     Searches will be coordinated through the Shift Supervisor of higher authority.

            •     Searches will target housing units, work areas, classrooms, storage warehouse areas and
                  all other EMCF property.

            •     When possible, the supervisor of an area being searched will be present during the search.

            •     Search areas will be left in an orderly manner.

            •     Reports will be generated that include all pertinent information specific to detected
                  contraband and/or search circumstances.

         Written policy, procedure and practice provide that, except in emergency situations, visual
         inspections of inmate body cavities are conducted by officers of the same sex, in private,
         and based on reasonable belief that the inmate is carrying contraband or other prohibited
         material. Reasonable belief is not required when inmates return from contact with the
         general public or from outside the institution. In all cases, this inspection is conducted by
         trained personnel (4-4194).

         Visual Body Cavity Search With Genital Examination Searches as defined will be conducted
         routinely as offenders are entering or leaving their housing units and/or institution/facility for or
         other appointments, appearances, emergency transfers, and physical contacts with visitors or
         attorney's and/or for probable cause.

         Written policy, procedure, and practice provide that manual or instrument inspection of
         body cavities is conducted only when there is reason to do so and when authorized by the



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             Warden/Superintendent or designee. The inspection is conducted in private by health care
             personnel or correctional personnel trained by health care personnel (4-4193).

             Body Cavity Searches as defined will be conducted when there is reasonable suspicion or
             evidence that an offender is concealing contraband within a body cavity. Offenders will be
             searched in a sanitary manner and in a sanitized and approved location exclusively by offsite
             medical personnel.

             Reasonable Suspicion Searches will be initiated at the discretion of employees who supervise
             or otherwise come in contact with offenders. When there is reasonable suspicion that an offender
             has contraband, is planning an escape, and is involved in an illegal activity or assault and/or any
             other rules violation, EMCF employees will conduct or request the appropriate search.

             Narcotic Canine Searches will be implemented during general searches whenever information,
             evidence or suspicion indicates the probability of contraband drugs/paraphernalia. All requests
             for narcotic detection dogs will be approved by the Warden or official acting in capacity of the
             Warden and the Administrator of the K-9 Unit. The staff requestor will be responsible for
             processing reports and all other search documentation.

             Strip Search

                 •     A Lieutenant or higher authority or designee will approve all strip searches for
                       contraband detection/confiscation.

                 •     Staff will exercise a proper attitude and follow professional search techniques when
                       conducting body/personal searches.

                 •     Offenders will be informed of body/personal searches.

                 •    Offenders will be subjected to the least amount of touching as possible without
                      jeopardizing security considerations.

                 •     Offenders will be strip-searched during the out-processing for transfer to another
                       correctional facility and during intake upon arrival at another correctional facility.


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             •     Offenders may be strip-searched when there is reasonable suspicion, return from
                   visitation, reclassification from administrative detention, escapee return or after
                   participation in a disturbance.

             •     Incident Reports will document circumstances and search results.

         Frisk/Pat Search Usage

         A frisk/pat search consists of:

             •     The removal of outer protective clothing
             •     The emptying of pockets
             •     The physical search of an offender
             •     Screening by any device that does not require disrobing
             •     The inspection of papers, bags, books, or other items being carried

         Frisk/Pat searches of male offenders may be conducted by staff of either sex. These searches
         may be utilized in the following instances:

             •     Whenever staff feels they are warranted
             •     When offenders enter or exit their unit for any reason
             •     After visitation
             •     When offenders are being transported from one location to another
             •     For probable cause

         Confiscation Transfer and Disposition of Evidence

         The Internal Affairs Investigator will accept evidence Monday through Friday from 8:00 a.m. to
         5:00 p.m. (normal working hours).

         The Internal Affairs Investigator will be contacted to receive or recommend disposition of all
         potential criminal evidence and/or contraband seized after normal working hours.




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         All evidence and/or contraband seized after normal working hours that may be used in offender
         disciplinary proceedings will be:

            •     Stored in a secure location
            •     Documented with a Rule Violation Report (RVR)
            •     Relinquished to the Disciplinary Department on the next working day

         All contraband items not specifically remanded to Internal Affairs Investigator custody and
         control will be surrendered with appropriate RVR documentation to the Area Disciplinary
         Department.

         All contraband obtained during search and seizures not resulting in Rule Violation Reports will
         be tagged properly and surrendered to the Unit Sergeant for disposition.

         Contraband Items

         The following contraband items will be remanded to the Institutional Internal Affairs
         Investigator staff upon confiscation:

            •      Narcotics (illegal and prescription)

            •      Alcohol (bonded or homemade)

            •      Weapons and munitions (homemade shanks or free-world) to include any unassembled
                   parts and any weapon used in an assault

            •      US Currency or any negotiable instrument (i.e., checks, money orders, credit cards and or
                   other related paraphernalia)

             •     Unauthorized electronic or electrical devices to include cell phones or any of its
                   components or accessories, recorders, televisions, tattoo guns (assembled or in part)

             •     Tools (manufactured or homemade)



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            •     Documentary evidence to include gang paraphernalia, escape plans, and items denoting
                  fraternization (i.e., letters, greeting cards, free-world items not available through canteen)

            •     Keys

            •     Spice/Mojo/JHW-108 synthetic marijuana

            •     Any items not stated above that warrant an Internal Affairs Investigator investigation to
                  determine its origin, use, and source.

         The confiscation of personal offender property will be documented on a Non-Allowable Items
         Receipt in conjunction with the offender's required signature. This form will accompany the
         contraband to storage and/or disposition.

         Contraband will never be taken home by any employee for personal utilization. Employees who
         utilize contraband for personal reasons will be subject to disciplinary action and/or criminal
         prosecution.

         This policy shall be reviewed annually and revised as necessary.



         REVIEWED & ISSUANCE
         APPROVED
                                                    NAME                                          DATE




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